
276 P.3d 284 (2012)
249 Or. App. 521
In the Matter of J. G., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
J.G., Appellant.
110463892; A148535.
Court of Appeals of Oregon.
Submitted on March 2, 2012.
Decided April 25, 2012.
Garrett A. Richardson and Multnomah Defenders, Inc., filed the brief for appellant.
John R. Kroger, Attorney General, Anna M. Joyce, Solicitor General, and Shannon T. Reel, Assistant Attorney General, filed the brief for respondent.
Before SCHUMAN, Presiding Judge, and WOLLHEIM, Judge, and NAKAMOTO, Judge.
PER CURIAM.
Appellant seeks reversal of a judgment committing him as a mentally ill person for a period not to exceed 180 days. ORS 426.130. Appellant argues that the record does not establish by clear and convincing evidence that he is a danger to himself because of a mental disorder. See ORS 426.005(1)(e). The state concedes that the evidence is legally insufficient for involuntary commitment and that the judgment should be reversed. We agree, accept the state's concession, and reverse.
Reversed.
